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     Co-Counsel to the Debtors and Debtors in Possession

                           IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE EASTERN DISTRICT OF VIRGINIA
                                      RICHMOND DIVISION

                                                                             )
     In re:                                                                  )     Chapter 11
                                                                             )
     RETAIL GROUP, INC., et al.,1                                            )     Case No. 20-33113 (KRH)
                                                                             )
                                Debtors                                      )     (Jointly Administered)
                                                                             )

                                  NOTICE OF THE DEBTORS’
                          FOURTEENTH OMNIBUS OBJECTION TO CLAIMS

          PLEASE TAKE NOTICE THAT on January 14, 2021, Retail Group, Inc. and its debtor
 affiliates (collectively, the “Debtors”)2 filed the Debtors’ Fourteenth Omnibus Objection to Claims
 [Docket No. 1477] (the “Omnibus Objection”) with the Court. A copy of the Omnibus Objection
 is attached to this notice (the “Objection Notice”) as Exhibit 1. By the Omnibus Objection, the
 Debtors are seeking to disallow, expunge, and modify claims, including your claim(s), as set forth
 on Exhibit A thereto.

        PLEASE TAKE FURTHER NOTICE THAT on December 23, 2020, the Court entered
 the Order (I) Approving Procedures for Filing Omnibus Objections to Claims, (II) Approving the
 Form and Manner of the Notice of Omnibus Objections, and (III) Granting Related Relief
 [Docket No. 1387] (the “Order”), by which the Court approved procedures for filing omnibus

 1      A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
        claims and noticing agent at http://cases.primeclerk.com/ascena. The location of Debtor Retail Group, Inc.’s
        principal place of business and the Debtors’ service address in these chapter 11 cases is 933 MacArthur Boulevard,
        Mahwah, New Jersey 07430.
 2      Capitalized terms used but not otherwise defined herein shall have the meanings set forth in the Objection.
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 objections to proofs of claim (collectively, the “Claims” and each individually, a “Claim”) in
 connection with the above-captioned chapter 11 cases (the “Omnibus Objection Procedures”).

       YOU ARE RECEIVING THIS OBJECTION NOTICE BECAUSE ALL PROOFS OF
 CLAIM LISTED HEREIN THAT YOU FILED AGAINST ONE OR MORE OF THE DEBTORS
 IN THE ABOVE-CAPTIONED CHAPTER 11 CASES ARE SUBJECT TO THE OBJECTION.
 YOUR RIGHTS MAY BE AFFECTED BY THE OBJECTION. THEREFORE, YOU SHOULD
 READ THIS OBJECTION NOTICE (INCLUDING THE OBJECTION AND OTHER
 ATTACHMENTS) CAREFULLY AND DISCUSS THEM WITH YOUR ATTORNEY. IF YOU
 DO NOT HAVE AN ATTORNEY, YOU MAY WISH TO CONSULT ONE.

      MOREOVER, UNDER THE OMNIBUS OBJECTION PROCEDURES, UNLESS A
 WRITTEN RESPONSE AND A REQUEST FOR A HEARING ARE FILED WITH THE CLERK
 OF THE COURT AND SERVED ON THE OBJECTING PARTY WITHIN 21 CALENDAR
 DAYS OF THE MAILING OF THIS OBJECTION (THE “RESPONSE DEADLINE”), THE
 COURT MAY DEEM ANY OPPOSITION WAIVED, TREAT THE OBJECTION AS
 CONCEDED, AND ENTER AN ORDER GRANTING THE RELIEF REQUESTED WITHOUT
 A HEARING.

                             Critical Information for Claimants
                    Choosing to File a Response to the Omnibus Objection

         Who Needs to File a Response: If you oppose the disallowance and expungement of your
 Claim(s) listed above and if you are unable to resolve the Omnibus Objection with the Debtors
 before the deadline to object, then you must file and serve a written response (the “Response”) to
 the Omnibus Objection in accordance with this Objection Notice.

        If you do not oppose the disallowance and expungement of your Claim(s) listed above,
 then you do not need to file a written Response to the Omnibus Objection and you do not need to
 appear at the hearing.

       Response Deadline: The Response Deadline is 4:00 p.m. prevailing Eastern Time on
 February 4, 2021 (the “Response Deadline”).

       THE COURT WILL ONLY CONSIDER YOUR RESPONSE IF YOUR RESPONSE IS
 FILED BY THE RESPONSE DEADLINE.

        Your Response will be deemed timely filed only if the Response is actually received on
 or before the Response Deadline by counsel for the Debtors:

         Kirkland & Ellis LLP                        Cooley LLP
         Attn: John R. Luze and                      Attn: Cullen D. Speckhart and
         Jeffrey Michalik                  and       Olya Antle
         300 North LaSalle Street                    1299 Pennsylvania Ave., NW, Ste 700
         Chicago, Illinois 60654                     Washington, DC 20004-2400
         Email:                                      Email:
         john.luze@kirkland.com                      cspeckhart@cooley.com
         jeff.michalik@kirkland.com                  oantle@cooley.com


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        Unless otherwise adjourned by the Court or the Debtors pursuant to the Omnibus Objection
 Procedures, the hearing on the Omnibus Objection and your Response will be held virtually at
 1:00 p.m. prevailing Eastern Time on March 18, 2021, before the Honorable Kevin R.
 Huennekens, in the United States Bankruptcy Court for the Eastern District of Virginia, located at
 701 East Broad Street, Suite 5100, Richmond, VA 23219-1888. You may register for the hearing
 through the following hyperlink:

        https://www.zoomgov.com/meeting/register/vJItdOuvqT4vHiBl_8x3gu_UfEQyMnj_rtE

         Parties who wish to attend the hearing but do not intend on participating in the hearing
 (listen-only), are not required to register in advance and may attend the hearing by using the
 following dial-in numbers:

  Phone Number: 1-866-590-5055                       Phone Number: 1-888-363-4734
  Access Code: 4377075                               Access Code: 3238664
  Security Code: 31821                               Security Code: 31821

                         Procedures for Filing a Timely Response
             and Information Regarding the Hearing on the Omnibus Objection

        Contents. Each Response must contain the following (at a minimum):

                A.     a caption setting forth the name of the Court, the name of the Debtors, the
                       case number, and the title of the Omnibus Objection to which the Response
                       is directed;

                B.     the claimant’s name and an explanation for the amount of the Claim;

                C.     a concise statement setting forth the reasons why the Court should not
                       sustain the Omnibus Objection with respect to your Claim(s), including,
                       without limitation, the specific factual and legal bases upon which the
                       claimant will rely in opposing the Omnibus Objection;

                D.     a copy of any other documentation or other evidence of the Claim, to the
                       extent not already included with the Claim, upon which the claimant will
                       rely in opposing the Omnibus Objection at the hearing; and

                E.     the claimant’s name, address, telephone number, and email address
                       and/or the name, address, telephone number and email address of the
                       claimant’s attorney and/or designated representative to whom the attorneys
                       for the Debtors should serve a reply to the Response, if any
                       (collectively, the “Notice Addresses”). If a Response contains Notice
                       Addresses that are different from the name and/or address listed on the
                       Claim, the Notice Addresses will control and will become the service
                       address for future service of papers with respect to all of the claimant’s
                       Claims listed in the Omnibus Objection (including all Claims to be
                       disallowed and expunged and the surviving Claims) and only for those
                       Claims in the Omnibus Objection.


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         Additional Information. To facilitate a resolution of the Omnibus Objection, your
 Response should also include the name, address, telephone number, and email address of the party
 with authority to reconcile, settle or otherwise resolve the Omnibus Objection on the claimant’s
 behalf (the “Additional Addresses”). Unless the Additional Addresses are the same as the Notice
 Addresses, the Additional Addresses will not become the service address for future service of
 papers.

         Failure to File Your Timely Response. If you fail to file your Response on or before the
 Response Deadline in compliance with the procedures set forth in this Objection Notice and timely
 serve it on the Debtors’ attorneys, the Debtors will present to the Court an appropriate order
 granting the relief requested in the Omnibus Objection without further notice to you.

         Hearing Attendance. If you file a Response to the Omnibus Objection, then you should
 plan to appear at the hearing on the Omnibus Objection. The Debtors, however, reserve the right
 to continue the hearing with respect to the Omnibus Objection and the Response.

         Rescheduling the Hearing. If the Court determines that the hearing on the Omnibus
 Objection will require substantial time for the presentation of argument and/or evidence, then the
 Court, in its discretion, may reschedule the hearing.

        Each Objection Is a Contested Matter. Each Claim subject to an Omnibus Objection and
 the Response thereto shall constitute a separate contested matter as contemplated by Bankruptcy
 Rule 9014, and any order entered by the Court will be deemed a separate order with respect to
 such Claim.

                                     Additional Information

        Reply of the Debtors. The Debtors may file a reply to your Response or reply in oral
 argument at the hearing. In such event, the Debtors are permitted to file their reply no later than
 one calendar day before the hearing on the Omnibus Objection and the Response.

         Additional Discovery. Upon receipt of your Response, the Debtors may determine that
 discovery is necessary in advance of the hearing on the Omnibus Objection and your Response.
 In such event, the Debtors will serve separate notice to the Notice Addresses that the scheduled
 hearing will be treated as a status conference during which the parties will request that the Court
 issue a scheduling order to facilitate resolution of the Response. Notwithstanding the foregoing,
 nothing herein modifies any parties’ right to seek discovery or request that the scheduled hearing
 be treated as a status conference.

         Requests for Information. If you have any questions regarding the Omnibus Objection
 and/or if you wish to obtain a copy of the Omnibus Objection or related documents, you may call
 the Debtors’ restructuring hotline at (877) 930-4319. You may also obtain a copy of the Omnibus
 Objection or related documents by visiting the Debtors’ restructuring website at
 https://cases.primeclerk.com/ascena/.

         Reservation of Rights. Nothing in this Objection Notice or the Omnibus Objection
 constitutes a waiver of the Debtors’ right to assert any claims, counterclaims, rights of offset or
 recoupment, preference actions, fraudulent-transfer actions, or any other claims against the


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 claimant of the Debtors. Unless the Court allows your Claims or specifically orders otherwise, the
 Debtors have the right to object on any grounds to the Claims (or to any other Claims or causes of
 action you may have filed or that have been scheduled by the Debtors) at a later date. In such
 event, you will receive a separate notice of any such objections.


                           [Remainder of page intentionally left blank]




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  Dated: January 14, 2021

                                                           /s/ Cullen D. Speckhart
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 Facsimile:      (212) 446-4900                            Email:            cspeckhart@cooley.com
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